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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

                       Plaintiff,
    v.
                                             Case No. 24-CR-0372-SEH
 ARTHUR EDWARD SUAREZ, JR.,
 KENDRA DEANNE SINGLETARY,
 DANA MICHAELLE STOKES,
 TONEY EUGENE BAHE,
 NATHAN ALLEN LEWELLING,
 KENNETH WAYNE TONEY,
 OSMAN ROLANDO SANCHEZ,
 KAYLA MARISA BRADFORD,
 JEREMY NATHANIEL STAGE,

                           Defendants.

               Notification of Intent to Offer Expert Witness Testimony

    The United States submits this Notice pursuant to Federal Rules of Evidence 702,

 703, and 705, and Federal Rules of Criminal Procedure 16(a)(1)(G)(i).

    The United States intends to call Agent Claudio Tello, an Agent with the

 Oklahoma Bureau of Narcotics and Dangerous Drugs (OBN) in Tulsa, Oklahoma.

 Agent Tello has been a law enforcement officer since 2020 and an Agent with OBN

 since January 2024. Before working for OBN, Agent Tello was a police officer for the

 Owasso Police Department in Owasso, Oklahoma.

    Agent Tello has participated in drug related investigations and his experience has

 ranged from drug conspiracy, unlawful manufacturing, importation, transportation,
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 to distribution of drugs. These investigations required Agent Tello to conduct wire

 and physical surveillance, author search warrants, including phone/Pen warrants,

 surveillance of undercover transactions, introduction of undercover agents, execution

 of search warrants, debriefing of informants, interviewing targets, review of taped

 conversations, and examination of drug records.

    Agent Tello’s education, training, and experience has allowed him to analyze

 data derived from a wide range of databases and apply it to on-going drug

 investigations. His education, training, and experience has also allowed Agent Tello

 to be knowledgeable on Tribal laws, specifically the Cherokee Nation. Agent Tello’s

 education, training, and experience has given him the crucial and complex skills of

 analyzing, predicting, and understanding digital data as it is related to drug

 conspiracies and drug investigations.

    Additionally, Agent Tello has participated in Title III investigations and

 understands how wire operations work. Please refer to Exhibit A, Agent Tello’s

 curriculum vitae, for further information on his education, training, and experience.

    Below, please find: (1) a complete statement of opinions that the government

 presently intends to elicit from the above expert witnesses in its case-in-chief; (2) the

 bases and reasons for those opinions; (3) the expert witness’s qualifications; and (4)

 the government’s disclosure regarding the expert witness’s prior expert testimony

 during the previous 4 years and publications authored in the previous 10 years,

 where applicable. See Fed. R. Evid. 16(a)(1)(G)(iii).

    1. Statement of Opinion(s) and Bases/Reasons for Expert Opinion(s)
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    Agent Tello will testify that the controlled dangerous substance,

 methamphetamine, possessed in this case by several defendants from the start of the

 conspiracy to the date of arrest, was possessed to distribute and to further the overall

 conspiracy and members of the conspiracy used digital devices and applications to

 carry-out the conspiracy. Agent Tello’s opinion will be based upon facts elicited by

 other witnesses, controlled buys, Title III Wire Intercepts, and other traditional

 investigatory techniques. Those facts include, but are not limited to:


           a. The quantity of methamphetamine seized during the conspiracy;
           b. Controlled buys conducted during the conspiracy;
           c. Title III Wire communications between members of the conspiracy-these
           communications are in both text and vocal format and also include Zangi
           App messages which depict the conspiracy to distribute and possess with
           intent to distribute methamphetamine;

           d. Financial  documents—displaying               money         transfers    for
           methamphetamine;

           e. Tracking data—the vehicles used to distribute methamphetamine by
           members of the conspiracy;

           f. Phone data-tracking location data;
           g. Surveillance—law enforcement watched members of the conspiracy take
           substantial steps to further the conspiracy;



    In addition to the facts referenced above, Agent Tello’s ultimate opinion that the

 methamphetamine possessed by defendant within the conspiracy, and the overall

 conspiracy, will also be based upon Agent Tello’s background, training, and



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 experience as an OBN Agent, a drug investigator, and as an OBN Agent who

 worked and currently works drug related activities.

    2. Prior Expert Testimony

 Agent Tello has testified as an expert in the following case(s) in the last 4 years:

 State of Oklahoma v. Charles David Douglas, Tulsa County, CM-2023-2407, 2024.

    3. Publications

 Agent Tello has not authored any publications within the past 10 years.


    4. Witness Approval and Signature

 I have reviewed and approve of the summary of my anticipated testimony.

                                        Dated: December _30_, 2024


                                        /s/ Claudio Tello
                                        Claudio Tello
                                        OBN Agent



    The government reserves the right to question this expert about other matters

 that may be raised during cross-examination or based upon the testimony elicited

 from defense experts, if any, or other witnesses or evidence that the defense

 introduces at trial. To the extent the Court allows the defense the same right, the

 government reserves the right to elicit any additional testimony that the experts are

 qualified to provide should the need arise based on further developments in

 preparing for and during the trial.



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    Further, the United States requests reciprocal discovery pursuant to Rule 16(b)

 and (b)(1)(C)(i) and reserves the right to modify this notice.

     At the time of this Notice, Defendants Kenneth Wayne Toney, Osman Rolando

 Sanchez, and Jeremy Nathaniel Stage remain at large with an active federal arrest warrants.




                                           Respectfully submitted,

                                           CLINTON J. JOHNSON
                                           United States Attorney

                                           /s/ Mandy M. Mackenzie
                                           Mandy M. Mackenzie, WA Bar #55836
                                           Assistant United States Attorney
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                                   Certificate of Service

 I hereby certify that on the 30th day of December, 2024, I electronically transmitted
 the foregoing document to the Clerk of Court using the ECF System for filing and
 transmittal of a Notice of Electronic Filing to the following ECF registrant:

 Kathrine Greubel                            Taylor McLawhorn
 Defense Counsel for Suarez Jr.              Defense Counsel for Singletary


 Jason Perkins                                Michael Noland
 Defense Counsel for Stokes                   Defense Counsel for Bahe


 Kara Pratt                                   Collin Rockett
 Defense Counsel for Lewelling                Defense Counsel for Bradford



                                                        /s/ Mandy M. Mackenzie
                                                        Mandy M. Mackenzie
                                                        Assistant United States Attorney




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